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                                                 United States District Court
                                                                           for the
                                                                     District of Utah
                  UNITED STATES OF AMERICA

                                     V.                                                              Case No: 2:22cr00295 TS

                               Altalibi, et al

                                                           ARREST WARRANT
To:        The United States Marshal
           and any authorized law enforcement officer


YOU ARE HEREBY COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay (name of person
to be arrested)      ROBLE ABDINOOR                                                                                                            ,
who is accused of an offense or violation based on the following document filed with the court:

X Indictment                      Superseding Indictment                   Information                 Superseding Information
                                  Complaint         Order of court         Violation Notice            Probation Violation Petition
                            Supervised Release Violation Petition
This offense is briefly described as follows:

           Conspiracy to Distribute 3,4-Methylenedioxypyrovalerone (MDPV), aPyrrolidinopentiophenone ( a-PVP), and a-
           Pyrrolidinohexiophenone ( a-PHP); Conspiracy to Commit Money Laundering; Possession of a-Pyrrolidinohexiophenone (a-
           PHP) with Intent to Distribute




in violation of       21:841(a)(1) and 846, 18:1956(h)                                                                                United States Code.




Gary Serdar                                                               Clerk of Court
Name of Issuing Officer                                                   Title of Issuing Officer

                                                                          August 17, 2022 at Salt Lake City, Utah
Signature of Issuing Officer                                              Date and Location

By:        Amy Faust
           Deputy Clerk


Bail fixed                                                           by
                                                                                                           Name of Judicial Officer

                                                                        RETURN

This warrant was received and executed with the arrest of the above-named defendant at
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